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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                     LONDON

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,                              )         Criminal No. 12-1-ART
                                                )
 v.                                             )
                                                )               ORDER
 DARMUS J. DALTON,                              )
                                                )
        Defendant.                              )
                                        *** *** *** ***

       Darmus Dalton filed a motion under 28 U.S.C. § 2255, claiming that the Court should

vacate, set aside, or correct his sentence. R. 351 (motion). Magistrate Judge Hanly A.

Ingram filed a thoughtful Report and Recommendation (“R&R”), finding that Dalton had

failed to establish that he was entitled to relief under 28 U.S.C. § 2255. R. 422. Judge

Ingram recommended that the Court deny Dalton’s motion and not issue a Certificate of

Appealability.   Id. at 22.   Neither party has filed any objections to the Report and

Recommendation, and the time for filing any objections has expired. See 28 U.S.C. §

636(b)(1). Accordingly, it is ORDERED that Judge Ingram’s R&R, R. 422, is ADOPTED

as the opinion of the Court. The motion under 28 U.S.C. § 2255, R. 351, is DENIED. The

Court will issue a separate judgment.

       This the 26th day of January, 2016.
